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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA F I L E D
333 Constitution Ave N.W. FEB 2 | 2014

Washington, District of Columbia 20001
Clerk, U.S. District & Bankruptcy

Courts for the District of Columbia

UNITED STATES OF AMERICA CASE # 1:13 er 00253
Wrongdoer
Fictitious-Foreign Plaintiff

Title 28 Chapter 5 District Court§ 88 District of Columbia
Vs Constitutional Article II] Court
Judge Gladys Kessler

RODNEY DALE CLASS (Government

Registered Trade Name WARD ,TRUST , ESTATE, JOINT STOCK SHARE
POST OFFICE BOX 435

CITY OF HIGH SHOALS

STATE OF NORTH CAROLINA

ZIP CODE 28077

Rodney-Dale; Class
Private Attorney General
32 North Lincoln St.
Thigh Shoals, North Carolina
America National
Third party of interest

By Congressional Act Private Attorney General
Constitutional Bounty Hunter

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COVER SHEET FOR ADDRESSES OF PARTIE!

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District Court, District of Columbia

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Rodney-Dale; Class

Private Attorney Gencral

432 North Lincoln St.

High Shoals, North Carolina

America National

Third party of interest = Flesh and Blood man with a Soul

By Congressional Act Private Attorney General
Constitutional Bounty Hunter

TAKE JUDICIAL NOTICE
REQUIREMENT FOR AN ARTICLE HI HEARING
FOR AN FORMAL COMPLAINT OF ULTRA VIRES MISS BEHAVIOR
WITH ATTACHMENTS

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ULTRA VIRES DEFINITION

Latin, meaning "beyond the powers." Describes actions taken by government bodies or corporations that
exceed the scope of power given to them by laws or corporate charters. When referring to the acts of
government bodies (e.g., legislatures), a constitution is most often the measuring stick of the proper scope

of power

FORMAL COMPLAINT OF ULTRA VIRES BEHAVIOR

Advocating Insurrection And Waging War Against Protected Rights
Of The People And Undermining The Constitution In A Time Of A “State of Emergency”

CRIMINAL COMPLAINT

With a Notice of Felony; Take Judicial Notice: Title 18 USC, Sec., 4 Misprision of Felony;18
USC § 2382 - Misprision of treason; 18 USC § 2383 - Rebellion or insurrection; Breach of
Fiduciary Duty Under Contract For Wages (a Hobbs Act violation); with an Affidavit of
Declaration Attesting To The Complaint

U.S. Code> Title 18 > Part I » Chapter 73 » § 1512
18 U.S. Code § 1512 - Tampering with a witness, victim, or an informant

(k) Whoever conspires to commit any offense under this section shall be subject to the same
penalties as those prescribed for the offense the commission of which was the object of the
conspiracy.

Jurisdiction of district court
U.S. Code>Title 28 >» Part I » Chapter 5 > § 88
28 U.S. Code § 88 - District of Columbia

Section 11-305 of the District of Columbia Code, 1940 ed., provides that the District Court of
the United States for the District of Columbia shall possess the same powers and exercise the
same jurisdiction as the district courts of the United States, and shall be deemed a court of the
United States. It is consonant with the ruling of the Supreme Court in O’Donoghue v. United
States, 1933, 53 S.Ct. 740, 289 U.S. 516, 77 L.Ed. 1356, that the (then called) Supreme Court
and Court of Appeals of the District of Columbia are constitutional courts of the United States,
ordained and established under article III of the Constitution,

63C Am.Jur.2d, Public Officers and Employees,

§ 3. Nature as public trust or agency West’s Key Number Digest

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West's Key Number Digest, Officers and Public Employees 1 Every public office is created in the interest
and for the benefit of the people, and belongs to them. Thus, a public office is a public agency or trust
created in the interest and for the benefit of the people. Such trust extends to all matters within the range
of the duties pertaining to the office.

§ 15. Constitutional officesWest's Key Number Digest

Officers and Public Employees 1 A constitutional office is one created by the United States
Constitution or by a state constitution, as distinguished from an office created by statute. A reference in a
state constitution to a particular position, however, does not automatically render that position a
constitutional office. The legislature's power over constitutional offices is limited. A legislature cannot
abolish a constitutional office, nor can it change such an office, except as expressly permitted by the
constitution itself. Thus, for example, the legislature has no power to change the title of a constitutional
office The legislature may, however, grant additional powers to a constitutional office by statute

§ 185. Malfeasance or misfeasance West’s Key Number Digest

Officers and Public Employees, In some jurisdictions, constitutional provisions subject all officers not
liable to impeachment to removal for malfeasance in office, and in other jurisdictions, malfeasance in
office is a statutory ground for removal. "Malfeasance" is the doing of an act which a person ought not to
do at all. Malfeasance in office can occur when an officer exercises official duties or acts "under color of
office.” It is unnecessary to show a specific intent to defraud or that the wrongful act is criminal or corrupt
in character in order to establish malfeasance in office. One act of malfeasance alone can be grounds for
removal of a public official, and willful action is not specifically required. Where removal proceedings
against a lay public officer on charges of malfeasance in office arise from his or her erroneous
interpretation of a statute that has never before been interpreted, and ambiguity exists in the statute such
that it is capable of being understood by reasonably well-informed persons in more than one sense,
removal from office is a more drastic remedy than the offense calls for. "Misfeasance" is the improper
doing of an act which a person might lawfully do. The acceptance of increased compensation during an
officer's term of office has been held to constitute misfeasance in office, justifying removal. It has been
said that in order to constitute malfeasance or misfeasance, the wrongful act must be accompanied by
some evil intent or motive, or with such gross negligence as to be equivalent to fraud.

§ 241. Generally; fiduciary nature of duties West’s Key Number Digest

Officers and Public Employees A public officer must act primarily for the benefit of the public; by
accepting a public office, one undertakes to perform all the duties of the office, and while he or she
remains in such office the public has the right to demand that he or she perform such duties. A
public officer owes an undivided duty to the public whom he or she serves. Public policy
demands that an officeholder discharge his or her duties with undivided loyalty, and that every
public officer is bound to perform the duties of his or her office faithfully. An officer's or public
employee's duty of loyalty to the public and his or her superiors is similar to that of an agent of
a private principal. As expressed otherwise, the powers delegated to a public officer are held in trust for
the people and are to be exercised on behalf of the government or of all citizens who may need the
intervention of the officer. A public official is held in public trust. That is, a public officer occupies a
fiduciary relationship to the political entity on whose bchalf he or she serves, and stands in a

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fiduciary relationship to the citizens that he or she has been elected to serve. Public officers are
fiduciaries and, when dealing with public property, must act with the utmost good faith, fidelity, and
integrity

§ 243. Necessity of performing duties honestly, in good faith, and diligently West's Key
Number Digest

Officers and Public Employees Every public officer is bound to perform the duties of his or her
office honestly and to the best of his or her ability. He or she is bound to use reasonable skill and
diligence in the performance of official duties. Furthermore, government employees are required to
devote their complete services and undivided attention to government service during working hours. An
attempt by a public officer to exercise his or her powers corruptly as under the influence of bribery or in
bad faith for some improper purpose, is null and void. To determine whether a public official has
acted in good faith, courts use an objective standard, asking whether a reasonably prudent official, under
the same or similar circumstances, could have believed that his or her conduct was justified based on

the information he or she possessed when the conduct occurred. Evidence of subjective opinions
of public officials is inadmissible on the issue of good faith.

§ 244. Duty to obey law West’s Key Number Digest Officers and Public Employees Every
public official, whose duties are defined by law, is given the law and must follow it; the law
controls the performance of all public officials. An erroneous application of law does not relieve a
public official from the obligation to apply and enforce it correctly thereafter

Now Comes, Rodney-Dale; Class, Private Attorney General & Constitutional Bounty
Hunter by Congressional] Act Civil Rights Act of 1866, 14 Stat. 27, enacted April 9, 1866, (and
sometimes referred to as The Private Attorney General Act) 39th Congress, Sess 1, Ch 31 (1866),
CHAP. XXXL, (Formally titled): An Act to protect all Person in the United States in their
Civil Rights, and furnish the Means of their Vindication, April 9, 1866; Public Law 104-317,
Oct 19, 1996, 110 Stat 3853; 93 stat 1284; Public Law 96-170, 96th Congress, Dec 9th 1979.
And By Congressional authority under BOUNTY HUNTER RESPONSIBILITY ACT OF 1999
and BOUNTY HUNTER RESPONSIBILITY ACT OF 2005 and the 14th Amendment of the
Federal Constitution hold lawful position as a 14th Amendment "Constitutional Bounty Hunter"

under Title 42, Public Health and Welfare, sec. 1983, 1988 and under USC Title 10, UCMJ and

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USC Title 18, section 241 and 242. This Act may be cited as the ‘Bounty Hunter Responsibility
Act of 2005".

SECTION 1. SHORT TITLE.
This Act may be cited as the ‘Bounty Hunter Responsibility Act of 2005’.

SEC. 2. CLARIFICATION OF APPLICATION OF CIVIL RIGHTS LAWS.

In General- For purposes of section 1979 of the Revised Statutes of the United States (42 U.S.C.
1983), section 242 of tile 18, United States Code, and other Acts of Congress providing civil or
criminal liability for the deprivation of federally protected rights under color of any statute,
ordinance, regulation, custom, or usage, of a State. And As a third party of interest, a real man of
flesh and blood, of the age of majority, and sets forth this document to be read and is required to
be acted upon by an honorable, flesh and blood, man or woman to answer and afford
(Government Registered Trade Name) RODNEY DALE CLASS and Rodney-Dale; Class
remedy: Conformity, pursuant to government employees sworn oaths to support and defend and
to preserve protected rights given by the Constitution of the United States and the Bill of Rights,
as the People were led to believe and understand. “You are here by being Notify” "TAKE
JUDICIAL NOTICE REQUIREMENT FOR AN ARTICLE HI HEARING FOR AN FORMAL
COMPLAINT OF ULTRA VIRES MISS BEHAVIOR WITH ATTACHMENTS?” ; Advocating

Insurrection And Waging War Against Protected Rights Of The People And Undermining The
Constitution In A Time Of A “State of Emergency.”; CRIMINAL COMPLAINT With a Notice
of Felony; Take Judicial Notice: Title 18 USC, Sec., 4 Misprision of Felony:18 USC § 2382 -

Misprision of treason; 18 USC § 2383 - Rebellion or insurrection; Breach of Fiduciary Duty
Under Contract For Wages (a Hobbs Act violation); with an Affidavit of Declaration Attesting To
The Complaint.

Frankenhauser v. Rizzo, 59 F.R.D. (1973).

It is the manner of enforcement which gives Title 42 1983 its unique importance,
for enforcement is placed in the hands of the people. Each citizen acts as a Private

Attorney General who “ ‘takes on the mantel of the sovereign,’ guarding for all of
us the individual liberties enunciated in the Constitution”

Frank in Associated Industries of New York State v. Ickes, 134 F.2d 694 (2d Cir.1943),

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“Judge Frank wrote that instead of designating the Attorney Gencral, or some
other public officer, to bring an action, Congress can constitutionally enact a
statute conferring on any non-official persons, or on a designated group of
non-official persons, authority to bring a suit ...even if the sole purpose is to
vindicate the public interest. Such persons, so authorized, are, so to speak, Private
Attorney Generals.”

1. By Congressional Legislation, Authority to Enforce the Law of the Land As a

Private Attorney General and As a 14th Amendment, Sec. 4, Constitutional Bounty Hunter

All issues are incorporated in paragraphs 1 through 4 as a foundation of the Declarant's

Complaint.

1. Now Comes, Rodney-Dale; Class, as a third party of interest, a real man of flesh and blood
with a soul “Answering” on behalf of RODNEY DALE CLASS (Government Registered Trade
Name Ward ,Trust , Estate, Joint Stock Share ) (hereinafter “Rodney -Dale; Class” as understood
to be a real man of flesh and blood with a soul or Private Attorney General “PAG”), and in the
name of ALL the People of the United States America, by Congressional Legislation, under the
Statutes at Large and by United States Codes created by the United States Congress within the
District of Columbia Territory, in the position of Private Attorney General and Bounty Hunter,
BY Congressional legislation; Declaratory Status given to the People to furnish the Means of
their Vindication. (Reference: CHAP. XXXI—An Act to protect all Persons in the United States
in their Civil Rights, and furnish the Means of their Vindication, April 9, 1866 - Thirty-Ninth
Congress. Session I., Ch. 31, 1866, starting on page 27 of the document and continuing in that
document.)

2. See page 1 of the above document at:

http://www.loc.gov/law/help/citizenship/pdf/chap_31.pdf, and 42 USC, section 1988, also (by

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and through) the Administrative Procedure Act of 1946, under Title 5 of the USC (60 stat 237),
and the Attorney General's Manual (1947) on the Administrative Procedure Act of 1946, and

3. BY: Congressional legislation under Declaratory Status given to the People to collect the
bounty(ies) pursuant to the 14th Amendment, section 4, and to enforce CIVIL RIGHTS
violations under the 1964 CIVIL RIGHTS ACT, 42 USC, Sec. 1981 and 1983, BOUNTY
HUNTER RESPONSIBILITY ACT OF 1999, and the BOUNTY HUNTER RESPONSIBILITY
ACT OF 2005, and the 14th Amendment of the Federal Constitution to hold a lawful position as
a 14th Amendment "Constitutional Bounty Hunter" under Title 42, Public Health and Welfare,
sec.1981, 1983, 1988, and under USC Title 10, UCMIJ, and USC Title 18, section 241 and 242.
(Civil Rights Act 1964),

4. SECTION 1. SHORT TITLE.

This Act may be cited as the ‘Bounty Hunter Responsibility Act of 2005".

SEC. 2 CLARIFICATION OF APPLICATION OF CIVIL RIGHTS LAWS.

In General- For purposes of section 1979 of the Revised Statutes of the United States (42 U.S.C.
1983), section 242 of title 18, United States Code, and other Acts of Congress providing civil or
criminal liability for the deprivation of federally protected rights under color of any statute,
ordinance, regulation, custom, or usage, of a State—

If. Being a Man or Woman of Flesh and Blood with a soul is the Requirement to Hold any

Public Office in the United States or any State; Oath of office to support the U.S.
Constitution and the Laws of the United States

All issues are incorporated in paragraphs 1 through 15 as a foundation of the Declarant's
Complaint.

5. The DC Code: § 5-105.03 Oath of office.
Index — 5 Police, Firefighters, Medical Examiner, and Forensic Sciences. (Refs & Annos)

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The Mayor of the District of Columbia shall require an oath of office to be taken by the
members of the police force, and shall make suitable provisions respecting the same, and
for the registry thereof, and such oath may be taken before said Mayor, who is
empowered to administer the same.

6. The DC Code: § 1-604.08 Oath of office.

Index — 1 Government Organization. (Refs & Annos)

Each personnel authority of an agency of the District shall designate a person to
administer the oath of office to each employee of that agency. The oath shall be as
follows: "I, (employee's name) do solemnly swear (or affirm) that I will faithfully execute
the laws of the United States of America and of the District of Columbia, and will, to the
best of my ability, preserve, protect and defend the Constitution of the United States, and

will faithfully discharge the duties of the office on which I am about to enter."

7.5 USC Sec. 3331. Oath of office Statute
An individual, except the President, elected or appointed to an office of honor or profit in

the civil service or uniformed services, shall take the following oath: "I, AB, do solemnly
swear (or affirm) that I will support and defend the Constitution of the United States
against all enemies, foreign and domestic; that I will bear true faith and allegiance to the
same; that I take this obligation freely, without any mental reservation or purpose of
evasion; and that J will well and faithfully discharge the duties of the office on which I
am about to enter. So help me God." This section does not affect other oaths required by
Law.

After taking the required oath, before they enter upon the duties of their respective
offices, that person is now an official (federal government). The same person that has

taken the required oath is now acting under Color of Law and Color of Office

8. 28 USC § 453 - Oaths of justices and judges

Each justice or judge of the United States shall take the following oath or affirmation
before performing the duties of his office: “l, XXX XXX, do solemnly swear (or affirm)
that I will administer justice without respect to persons, and do equal right to the poor and

to the rich, and that I will faithfully and impartially discharge and perform all the duties

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incumbent upon me as XXX under the Constitution and laws of the United States. So

help me God.”

9. TITLE 28 App. > RULES > XI. > Rule 83.1
RULE 83.1. ATTORNEYS
Admission to Practice.

(1) Qualifications; Oath. Any person of good moral character who has been admitted
practice before the Supreme Court of the United States, the United States Court of
Appeals for the Federal Circuit, or the highest court of any state, territory, possession,
or the District of Columbia, and is in good standing therein, may be admitted to
practice before this court upon oral motion or by verified application, as provided in
this rule, and upon taking or subscribing to the following oath: I, XXXXXXXX, do
solemnly swear (or affirm) that I will support the Constitution of the United States

and that ] will conduct myself in an upright manner as an attorney of this court.

10. Last, but not least, The U.S. Constitution, Article 6, Clause 2:

The Senators and Representatives before mentioned, and the members of the several state
legislatures, and all executive and judicial officers. both of the United States and of the several
states, shall be bound by oath or affirmation, to support this Constitution; but no _ religious test

shall ever be required as a qualification to any office or public trust under the United States.

11. The Declarant will now point out that, in paragraphs 5 through 10 (above), those who hold
public office from the mayor of the District of Columbia, the commissioners, the DC police
officers and the prosecutor are required by law to support the Constitution and to uphold and
protect the rights of the citizens when in public office while accepting wages and compensation
and benefits in performance of their duties.

12. The Court is aware that those persons who take a public office are required to swear or affirm
an oath to the Constitution as part of a “contractual agreement” to the public office, and to
receive wages and compensations that they will uphold and defend and protect the rights of the

citizens.

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13. The Court is aware that within the U.S. Constitution and the Bill of Rights, Amendments 1
through 10, those protected rights are written and that those who hold public office are required
to defend and protect these rights and any such failure would be considered a “perjured oath” and
advocating the overthrow of the Constitution and the United States government.

14. The Court is aware that Article IV, clause 1 and 2 of the Constitution gives the pcople “full
faith and credit” and an “equal protection under the Jaw” in any State or Territory under the
jurisdiction of the United States as if they were in their home state.

15. The Rodney-Dale; Class now points to the penalty sections for breach of fiduciary duty, etc.,
of those who violate their oath of office as these oaths require a real man or woman of flesh
and blood to swear such an oath, and if they have received wages and compensation with willful
intent to overthrow the Constitution and the United States government with “intent” to violate
the rights of the citizens, then they are in violation.

Ill. Penalty Sections for Violations or Breaches of Public Office

All issues are incorporated in paragraphs 1 through 23 as a foundation of the Declarant's
Complaint.

16. 18 USC § 4 - Misprision of felony
Whoever, having knowledge of the actual commission of a felony cognizable by a court
of the United States, conceals and does not as soon as possible make known the same to
some judge or other person in civil or military authority under the United States, shall be
fined under this title or imprisoned not more than three years, or both.

17. 18 USC § 2382 - Misprision of treason
Whoever, owing allegiance to the United States and having knowledge of the commission
of any treason against them, conceals and does not, as soon as may be, disclose and make

known the same to the President or to some judge of the United States, or to the governor

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or to some judge or justice of a particular State, is guilty of misprision of treason and
shall be fined under this title or imprisoned not more than seven years, or both.
18. United States Code
TITLE 18 - CRIMES AND CRIMINAL PROCEDURE
PART I - CRIMES
CHAPTER 93 - PUBLIC OFFICERS AND EMPLOYEES

Section 1918. Disloyalty and asserting the right to strike against the Government

Whoever violates the provision of section 7311 of title 5 that an individual may not
accept or hold a position in the Government of the United States or the government of the
District of Columbia if he -

(1) advocates the overthrow of our constitutional form of government;

(2) is a member of an organization that he knows advocates the overthrow of our
constitutional form of government;

(3) participates in a strike, or asserts the right to strike, against the Government of the
United States or the government of the District of Columbia; or

(4) is amember of an organization of employees of the Government of the United States
or of individuals employed by the government of the District of Columbia that he knows
asserts the right to strike against the Government of the United States or the government
of the District of Columbia; shall be fined under this title or imprisoned not more than
one year and a day, or both.

19. USC § 7311 - Loyalty and striking

An individual may not accept or hold a position in the Government of the United States
or the government of the District of Columbia if he—

(1) advocates the overthrow of our constitutional form of government;

(2) is a member of an organization that he knows advocates the overthrow of our
constitutional form of government;

(3) participates in a strike, or asserts the right to strike, against the Government of the
United States or the government of the District of Columbia; or

(4) is a member of an organization of employees of the Government of the United States

or of individuals employed by the government of the District of Columbia that he knows

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asserts the right to strike against the Government of the United States or the government

of the District of Columbia.

20. TITLE 18 - CRIMES AND CRIMINAL PROCEDURE PART I— CRIMES CHAPTER 79 -
PERJURY

Sec. 1621. Perjury generally
Whoever -
(1) having taken an oath before a competent tribunal, officer, or person, in any case in
which a law of the United States authorizes an oath to be administered, that he will
testify, declare, depose, or certify truly, or that any written testimony, declaration,
deposition, or certificate by him subscribed. is true, willfully and contrary to such oath
states or subscribes any material matter which he does not believe to be true; or (2) in
any declaration, certificate, verification, or statement under penalty of perjury as
permitted under section 1746 of title 28, United States Code, willfully subscribes as true
any material matter which he does not believe to be true; is guilty of perjury and shall,
except as otherwise expressly provided by law, be fined under this title or imprisoned not
more than five years, or both. This section is applicable whether the statement or
subscription 1s made within or without the United States.

21. 42 USC 1983; Every person who, under color of any statute, ordinance, regulation, custom,
or usage, of any State or Territory or the District of Columbia, subjects, or causes to be
subjected, any citizen of the United States or other person within the jurisdiction thereof
to the deprivation of any rights, privileges, or immunities secured by the Constitution and
laws, shall be liable to the party injured in an action at law, suit in equity, or other proper
proceeding for redress, except that in any action brought against a judicial officer for an
act or omission taken in such officer’s judicial capacity, injunctive relief shall not be
granted unless a declaratory decree was violated or declaratory relief was unavailable.
For the purposes of this section, any Act of Congress applicable exclusively to the

District of Columbia shall be considered to be a statute of the District of Columbia.
22. 18 USC § 241 - Conspiracy against rights
If two or more persons conspire to injure, oppress, threaten, or intimidate any person in

any State, Territory, Commonwealth, Possession, or District in the free exercise or

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enjoyment of any right or privilege secured to him by the Constitution or laws of the
United States, or because of his having so exercised the samc; or

If two or more persons go in disguise on the highway, or on the premises of another, with
intent to prevent or hinder his free exercise or enjoyment of any right or privilege so
secured—

They shall be fined under this title or imprisoned not more than ten years, or both; and if
death results from the acts committed in violation of this section or if such acts include
kidnapping or an attempt to kidnap, aggravated sexual abuse or an attempt to commit
aggravated sexual abuse, or an attempt to kill, they shall be fined under this title or

imprisoned for any term of years or for life, or both, or may be sentenced to death.

23. 18 USC § 242 - Deprivation of rights under color of law
Whoever, under color of any law, statute, ordinance, regulation, or custom, willfully

subjects any person in any State, Territory, Commonwealth, Possession, or District to the
deprivation of any rights, privileges, or immunities secured or protected by the
Constitution or laws of the United States, or to different punishments, pains, or penalties,
on account of such person being an alien, or by reason of his color, or race, than are
prescribed for the punishment of citizens, shall be fined under this title or imprisoned not
more than one year, or both; and if bodily injury results from the acts committed in
violation of this section or if such acts include the use, attempted use, or threatened use of
a dangerous weapon, explosives, or fire, shall be fined under this title or imprisoned not
more than ten years, or both; and if death results from the acts committed in violation of
this section or if such acts include kidnapping or an attempt to kidnap, aggravated sexual
abuse, or an attempt to commit aggravated sexual abuse, or an attempt to kill, shall be
fined under this title, or imprisoned for any term of years or for life, or both, or may be
sentenced to death.

24. 18 USC §1512 Tampering with a witness, victim, or an informant

(k) Whoever conspires to commit any offense under this section shall be subject to the same
penalties as those prescribed for the offense the commission of which was the object of the
conspiracy. (Obstruction of Justice)

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IV. Enforcement Sections to Collect the Bounty and Bring Charges as a Private Attorney

General and a Constitutional Bounty Hunter

All issues are incorporated in paragraphs 1 through 26 as a foundation of the Declarant's

Complaint.

25. 14th Amendment, section 4. The validity of the public debt of the United States, authorized
by law, including debts incurred for payment of pensions and bounties for services in
suppressing insurrection or rebellion, shall not be questioned. But neither the United
States nor any state shall assume or pay any debt or obligation incurred in aid of
insurrection or rebellion against the United States, or any claim for the loss or
emancipation of any slave; but all such debts, obligations and claims shall be held illegal
and void.

26. 42 USC 1983; Every person who, under color of any statute, ordinance, regulation, custom,
or usage, of any State or Territory or the District of Columbia, subjects, or causes to be
subjected, any citizen of the United States or other person within the jurisdiction thereof
to the deprivation of any rights, privileges, or immunities secured by the Constitution and
laws, shall be liable to the party injured in an action at law, suit in equity, or other proper
proceeding for redress, except that in any action brought against a judicial officer for an
act or omission taken in such officer’s judicial capacity, injunctive relief shall not be
granted unless a declaratory decree was violated or declaratory relief was unavailable.
For the purposes of this section, any Act of Congress applicable exclusively to the
District of Columbia shall be considered to be a statute of the District of Columbia.

27. 42 USC § 1988 - Proceedings in vindication of civil rights

(a) Applicability of statutory and common law

The jurisdiction in civil and criminal matters conferred on the district courts by the
provisions of titles 13, 24, and 70 of the Revised Statutes for the protection of all persons
in the United States in their civil rights, and for their vindication, shall be exercised and
enforced in conformity with the laws of the United States, so far as such laws are suitable
to carry the same into effect; but in all cases where they are not adapted to the object, or

are deficient in the provisions necessary to furnish suitable remedies and punish offenses

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against law, the common law, as modified and changed by the constitution and statutes of
the State wherein the court having jurisdiction of such civil or criminal cause is held, so
far as the same is not inconsistent with the Constitution and laws of the United States,
shall be extended to and govern the said courts in the trial and disposition of the cause,

and, if it is of a criminal nature, in the infliction of punishment on the party found guilty.

(b) Attorney’s fees

Tn any action or proceeding to enforce a provision of

sections 1981, 198la, 1982, 1983,1985, and 1986 of this title, title IX of Public Law 92-
318 {20 U.S.C, 1681 et seq.], the Religious Freedom Restoration Act of 1993

[42 U.S.C. 2000bb et seq.], the Religious Land Use and Institutionalized Persons Act of
2000 [42 U.S.C. 2000cc et seq.], title VI of the Civil Rights Act of 1964

[42 U.S.C. 2000d et seq.], or section 13981 of this title, the court, in its discretion, may
allow the prevailing party, other than the United States, a reasonable attorney’s fee as part
of the costs, except that in any action brought against a judicial officer for an act or
omission taken in such officer’s judicial capacity such officer shall not be held liable for
any costs, including attorney’s fees, unless such action was clearly in excess of such
officer’s jurisdiction.

(c) Expert fees

In awarding an attorney’s fee under subsection (b) of this section in any action or
proceeding to enforce a provision of section 1981 or 1981a of this title, the court, in its

discretion, may include expert fees as part of the attorney’s fee.

V. Articles of Violation by the President and Commander-In-Chief of the United States

All issues are incorporated in paragraphs 1 through 30 as a foundation of the Declarant's

Complaint.

28. Whereas the United States President and Commander-in-Chief being real man of flesh and

blood with a soul has been in charge and has the power to appoint those public officials in the

District of Columbia he has breached his oath to the United States Constitution and has acted in a

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manner contrary to his oath of office under the Constitution by allowing those appointed to the
offices of the District of Columbia to violate protected rights of the citizens of the United States
and of those in the District of Columbia.

29. Under the powers of the office of Presidency, and as Commander-in-Chief of the United
States, Barack H. Obama being real man of flesh and blood in violation of his constitutional
oath to faithfully execute the office of president of the United States and, to the best of his ability,
preserve protect, and defend the Constitution of the United States, and in disregard of his
constitutional duties to take care that the laws be faithfully executed, has repeatedly engaged in
conduct that has violated the constitutional rights of the citizens of the United States and of the
District of Columbia by impairing the due process and proper administration of justice and the
conduct of unlawful Acts or contravening the laws governing agencies of the exccutive branch
and the purpose of these agencies.

30. Whereas President and Commander-in-Chief of the United States, Barack H. Obama, because
of his conduct in the office of Presidency and Commander-in-Chief of the United States, has
abused his powers by violating the constitutional rights of citizens impairing the due proccss and
proper administration of justice in conduct of unlawful Acts or contravening the laws governing
the protected rights under the Constitution and the Bill of Rights to uphold and defend the 2nd
Amendment and the 4th Amendment under the Bill of Rights.

31. Under the power of the office of Presidency and Commander-in-Chief of the United States,
Barack H. Obama in violation of his constitutional oath to faithfully execute the office of
President and Commander-in-Chief of the United States, with malice and reckless disregard of

the constitution and the protected rights of the People, did allow the appointed public officials in

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charge of the District of Columbia to create laws contrary to the Bill of Rights as part of the

protected rights under the Constitution.

VI. Articles of Violation by the Congressional Members of the United States

All issues are incorporated in paragraphs 1 through 34 as a foundation of the Declarant's
Complaint.

32. Whereas,Such Congressional Members being real man and women of flesh and blood with
a soul that review the codes for the District of Columbia have been in charge of, and having the
power to appoint those public officials in the District of Columbia, have breached their oath to
the United States Constitution and have acted in a manner contrary to their oath of office under
the Constitution by allowing those appointed to the office of the District of Columbia to violate
the protected rights of the citizens of the United States and of those in the District of Columbia.
33. Under the powers of the Congressional Office of the United States, Congressional Members
have been in violation of their constitutional oath to faithfully execute the Congressional Office
of the United States and, to the best of their ability. preserve protect, and defend the Constitution
of the United States, and in disregard of their constitutional duties to take care that the laws be
faithfully executed, have repeatedly engaged in conduct violating the Constitutional Rights of the
citizens of the United States and of the District of Columbia and impairing the due process and
proper administration of justice and have enforced unlawful Acts or contravened the laws
governing agencies of the executive branch and the purpose of these agencies.

34. Under the office of Congress such Congressional Members, being unmindful of their
constitutional duties to create law as to not be in conflict with Constitutionally protected rights,
has granted codes “FOR” the District of Columbia contrary to their oath to support and defend

and preserve protected rights of the Constitution of the United States and have disregarded the

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Constitution or a duty to take care that the laws be faithfully executed and have repeatedly
engaged in conduct that violates the constitutional rights of the citizens of the United States and
of the District of Columbia, impairing due process and proper administration of justice and
enforcement of unlawful Acts or contravening the laws governing agencies of the executive
branch and the purpose of these agencies.

35. Under the power of the office of Congress such Congressional Members, in violation of their
constitutional oath to faithfully execute the office of Congress, did with malice and reckless
disregard of the constitutionally protected rights, did allow the appointed public officials in
charge of the District of Columbia to create law contrary to the Bill of Rights as part of the
protected rights under the Constitution and has denied the citizens of the District of Columbia, at
any citizen's trial, in the District of Columbia, the protected right under the 2nd Amendment and
the protected right under the 4th Amendment as well as considerations under Article 4, clauses |
and 2 of the Constitution.

VIL. Articles of Violation by the Agent Andrew David Finkelman, and or Peter Lallas

United States Attorney, Under the Office of United States Attorney General

All issues are incorporated in paragraphs | through 41 as a foundation of the Declarant's
Complaint.

36. United States Attorney Andrew David Finkelman and or Peter Lallas, being real man of
flesh and blood with a soul under the office of United States Attorney, did swear an oath to the
Constitution in order to receive a position as United States Attorney and did take a second oath
as a lawyer to uphold and defend the Constitution and is in violation of his constitutional oath to
uphold and defend the rights of the citizens of the United States as well as of the District of
Columbia by failing to uphold protected rights under the Bill of Rights and of the Constitution

under Article 4.

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37. Under the powers of the United States Attorney Andrew David Finkelman and or Peter
Lallas, under the office of United States Attorney General, is in violation of his constitutional
oath to faithfully execute the office of United States Attorney of the United States and, to the best
of his ability, preserve protect, and defend the Constitution of the United States, and in disregard
of his constitutional duties to take care that the laws be faithfully executed. Finkelman has
repeatedly engaged in conduct violating the constitutional rights of the citizens of the United
States and of the District of Columbia and impairing the due process and proper administration
of justice and conduct of unlawful Acts or contravening the laws governing agencies of the
executive branch and the purpose of these agencies.

38. As United States Attorney Andrew David Finkelman and or Peter Lallas, under the office of
United States Attorney General and his conduct the office United States Attorney of the United
States, has abused his powers by violating the constitutional rights of citizens impairing the due
process and proper administration of justice in conduct of attempting to enforce unlawful Acts or
contravening the laws governing the protected rights under the Constitution and the Bill of
Rights to uphold and defend the 2nd Amendment and the 4th Amendment under the Bill of
Rights.

39. United States Attorney Andrew David Finkelman and or Peter Lallas, under the office of
United States Attorney, did swear two separate oaths to uphold and defend the Constitution and
being unmindful of the laws, is aware that any codes created by the Public Officials of the
District of Columbia that comes in conflict with the protected rights of the people has engage in
conduct violating the Constitutional Rights of the citizens of the United States and of the people

of the District of Columbia by impairing the due process and proper administration of justice and

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the conduct of attempting to enforce unlawful Acts or contravening the laws governing agencies
of the executive branch and the purpose of these agencies.

40. United States Attorney Andrew David Finkelman and or Peter Lallas, under the office of
United States Attorney, acting contrary and in violation to his constitutional oath to faithfully
execute the office of the United States Attorney, has willfully corrupted and manipulated the
judicial process of the United States with willful perjurious, false and misleading testimony,
impeded a cover up and concealed Constitutionally protected rights under the 2nd and 4th
Amendment of the Bill of Rights. and Article IV, section 1 and 2 of the Constitution of full faith
and credit and immunities from State to State.

41. United States Attorney Andrew David Finkelman and or Peter Lallas, under the office of
United States Attorney, acting contrary and in violation of his constitutional oath to faithfully
execute the office of the United States Attorney, did willfully, with forethought and with malice
and intent to commit perjury, swear a fraudulent oath to the position as United States Attorney in
order to gain wages and compensation and a position of honor with intent to defraud and
overthrow the Constitution and the United States government.

42. United States Attorney Andrew David Finkelman and or Peter Lallas, as a Attorney, did
swear to uphold and defend the Constitution and did with malice and forethought of knowing the
law, set out with intent to defraud the public of its constitutionally protected rights and the Bill of
Rights for personal gain, profit of compensation, and with willful intent, provided perjurious
testimony. Finkelman did also knowingly disregard his constitutional duties to take care that the
laws be faithfully executed, and has repeatedly engaged in conduct violating the constitutional

rights of the citizens of the United States and of the District of Columbia and impairing the due

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process and proper administration of justice and the conduct of unlawful Acts or contravening

the laws governing agencies of the executive branch and the purpose of these agencies.

VIIL Articles of Violations of the Mayor of the District and Office of the City

Administrators of the District of Columbia

All issues are incorporated in paragraphs | through 46 as a foundation of the Declarant's
Complaint.

43, Whereas, The Mayor of the District of Columbia and Office of the City Administrators of
Columbia, being real men and women of flesh and blood with a soul being in charge and
having the a power to appoint those public officials in the District of Columbia, has breached his
and their oaths to the United States Constitution and has acted in a manner contrary to his and
their oaths of office under the Constitution by allowing those appointed to the offices of the
District of Columbia to violate protected rights of the citizens of the United States and of those in
the District of Columbia.

44, Whereas, The Mayor of the District of Columbia and Office of the City Administrators of
Columbia under their Public Offices are acting contrary and in violation of their constitutional
oaths to faithfully execute the office under the District of Columbia and have willfully corrupted
and manipulated the judicial process of the United States with willful intent and provided
perjurious, false and misleading testimony, impeded a cover up and concealed Constitutionally
protected rights under the 2nd and 4th Amendment of the Bill of Rights and Article IV, clauses 1
and 2 of the Constitution of full faith and credit and immunities from State to State by enacting
Codes in violation to the Constitution and the Bill of Rights.

45. Whereas, The Mayor of the District of Columbia and Office of the City Administrators of

Columbia, under their Public Offices, have been acting contrary and in violation to their

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constitutional oaths to faithfully execute the office under the District of Columbia and have with
forethought and malice, and with intent to do harm to the citizens, did create codes for the
District of Columbia contrary to the Constitution and the Bill of Rights with the intent for
personal gain of wages, compensation, and benefits with intent to defraud and impede a cover up
and concealed Constitution protected rights under the second and fourth amendment of the Bill
of Rights and Article IV, clauses ] and 2 of the Constitution of full faith and credit and
immunities from State to State from the people of the District of Columbia and those who travel
inside the District of Columbia from other States.

46.Whereas, The Mayor of the District of Columbia and Office of the City Administrators of
Columbia under their Public Offices have acted contrary and in violation to their constitutional
oath to faithfully execute the office under the District of Columbia and have instructed law
enforcement agencies to disregard constitutionally protected rights contrary to the oath given to
law enforcement officers to uphold and defend the Constitution and to preserve protected rights
under a sworn oath of office to the Constitution to these public offices under paid compensation
and benefits with intent to defraud and overthrow the Constitution and the United States
government.

47. Whereas, The Mayor of the District of Columbia and Office of the City Administrators of
Columbia, under their Public Offices acting contrary and in violation of their constitutional oath
to faithfully execute the office under the District of Columbia of the United States, have abused
their powers and are violating the constitutional rights of citizens, impairing the due and proper
administration of justice in a conduct of unlawful Acts or contravening the laws governing the
protected rights under the Constitution and the Bill of Rights to uphold and defend the 2nd

Amendment and the 4th Amendment under the Bill of Rights.

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IX. Articles of Violation of Employees of Capitol Hill Police Department of the District of

Columbia

All issues are incorporated in paragraphs | through 50 as a foundation of the Declarant's
Complaint.

48. Employees being real men and women of flesh and blood with a soul of Capitol Hill
Police Department, being a federal agency to the District of Columbia, are required to swear an
oath or affirmation to the Constitution to support and defend such rights as provided by the
Constitution and the Bill of Rights and have abused their powers by violating the constitutional
rights of citizens, impairing the due and proper administration of justice in a conduct of unlawful
acts or contravening the laws governing the protected rights under the Constitution and the Bill
of Rights to uphold and defend the 2nd Amendment and the 4th Amendment under the Bill of
Rights.

49, Employees of Capitol Hill Police Department, being a federal agency to the District of
Columbia, have acted in violation of their constitutional oath to faithfully execute their office for
the District of Columbia and, to the best of their ability, preserve protect, and defend the
Constitution of the United States, and in disregard of their constitutional duties to take care that
the laws be faithfully executed, and have repeatedly engaged in conduct violating the
constitutional rights of the citizens of the United States and of the District of Columbia.

50. Employees of Capitol Hill Police Department, being a federal agency to the District of
Columbia, are bound by sworn oath of office or affirmation to the Constitution of the United
States for their gainful employment of compensation and benefits, and did, with malice,
forethought, and with full knowledge and intent, set out to defraud the people of the District of
Columbia and of the United States by swearing a perjurious oath with intent to disregard the

constitutional duties to take care that the laws are faithfully executed and that the constitution

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and the Bill of Rights are preserved for the people’s rights and that they are protected under the
2nd and 4th Amendment and to Article 4, clause | and 2 of the Constitution.

51. Employees of Capitol Hill Police Department, being a federal agency to the District of
Columbia, are bound by sworn oaths of office or affirmation to the Constitution of the United
States and have engaged in practices to deprive people of life liberty and property and are

content to kidnap “under color of law” and have abused their powers by violating the

constitutional rights of citizens, impairing the due and proper administration of justice ina
conduct of unlawful acts or contravening the laws governing the protected rights under the
Constitution and the Bill of Rights to uphold and defend the 2nd Amendment and the 4th

Amendment under the Bill of Rights.

X. Articles of Violation of Conspiracy by the Capitol Hill Police Department to Defraud, by

Deprivation, Any Rights, Privileges, or Immunities, Secured or Protected by the

Constitution or Laws of the United States

All issues are incorporated in paragraphs | through 53 as a foundation of the Declarant's
Complaint.

52. Employees of Capitol Hill Police Department, being a federal agency to the District of
Columbia and with the aid of the Mayor of the District of Colombia and Office of the City
United States Attorney Andrew David Finkelman and or Peter Lallas, Administrators of District
of Columbia under their Public Offices and with the aid of under the office of United States
Attorney ALL being real men and women of flesh and blood with a soul being unmindful of
the high duties of their public offices under oaths of office and the requirements of the
Constitution that they should take care that the laws be faithfully executed, did unlawfully in

violation of the Constitution and the laws of the United States and did conspire to commit a

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conspiracy to deprive the people of the District of Columbia and the people of the United States
that travel to the District of Columbia of their protected rights under the Constitution and the Bill
of Rights.

53. Employees of Capitol Hill Police Department, being a federal agency to the District of
Columbia and with the aid of the Mayor of the District of Colombia and Office of the City
Administrators of District of Columbia under their Public Office and with the aid of United
States Attorney Andrew David Finkelman and or Peter Lallas, under the office of United States
Attorney being unmindful of the high duties of their public offices under oath of office and the
requirements of the Constitution, did, with malice and forethought of knowing the law, set out
with intent to defraud the public of the constitutionally protected rights and the Bill of Rights and
did set out for personal gain, profit of compensation, with willfully provided perjurious, and did
defraud the federal government to gain financial riches in the form of grants, or federal funding
with intent to defraud and overthrow the Constitution and the United States government.

54. Employees of Capitol Hill Police Department, being a federal agency to the District of
Columbia and with the aid of the Mayor of the District and Office of the City Administrators of
District of Columbia under their Public Offices and with the aid of United States Attorney
Andrew David Finkelman and or Peter Lallas, under the office of United States Attorney being
unmindful of the high duties of their public offices under oath of office and the requirements of
the Constitution with malice of forethought and full knowledge of the law, did sct out to conspire
to injure, oppress, threaten, or intimidate the free exercise or enjoyment of any right or privilege
secured to the people by the Constitution or laws of the United States, and have abused their

power by violating the constitutional rights of citizens with intent to prevent or hinder free

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exercise or enjoyment of any right or privilege so secured by the Constitution and the Bill of

Rights.

XL. Articles of Violation of the Smith Act (1940) by Advocating the Overthrow of the United

States Government.

All issues are incorporated in paragraphs | through 56 as a foundation of the Declarant's
Complaint.

55. Employees of Capitol Hill Police Department. being a federal agency to the District of
Columbia and with the aid of the Mayor of the District Columbia and Office of the City
Administrators of District of Columbia under their Public Offices and with the aid of United
States Attorney Andrew David Finkelman and or Peter Lallas, under the office of United States
Attorney being unmindful of the high duties of their public offices under oath of office the
requirements of the Constitution as trustees to the trust in their conduct of public office, have
abused their power by violating the constitutionally protected rights and, as expressed otherwise,
the powers delegated to a public officer held in trust for the people and to be exercised on behalf
of the government or of all citizens who may need the intervention of the officer. Furthermore,
the view has been expressed that all public officers, within whatever branch and at whatever
level of government, and whatever be their private vocations, are “trustees” for the people, and
accordingly labor under every disability and prohibition imposed by law upon trustees relative to
the making of personal financial gain from a discharge of these trusts. That is, a public officer
occupies a fiduciary relationship to the political entity on whose behalf he or she serves and owes
a fiduciary duty to the public. It has been said that the fiduciary responsibilities of a public
officer cannot be less than those of a private individual. Furthermore, it has been stated that any

enterprise undertaken by a public official which tends “to weaken public confidence and

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undermine the sense of security for individual rights is against public policy” is in violation of
the Smith Act (1940).

56. Employees of Capitol Hill Police Department, being a federal agency to the District of
Columbia and with the aid of the Mayor of the District of Columbia and Office of the City
Administrators of District of Columbia under their Public Office and with the aid of United
States Attorney Andrew David Finkelman and or Peter Lallas, under the office of United States
Attorney being unmindful of the high duties of their public offices under oath of office and the
requirements of the Constitution, have denied countless numbers of people travel through the
District of Columbia and the people of the District of Columbia of the 2nd Amendment and the
4th Amendment to the Bill of Rights secured by the Constitution under Article 4, sections | and
2, and have violated their constitutional oath to faithfully exercise their public offices of the
United States and to the best of their ability preserve protect and defend the Constitution of the
United States, and in violation of their constitutional duties to take care that the laws be faithfully
exercised and have been complicit in the arrogation of excessive power by the executive branch
in violation of the basic constitutional principles of the separation of powers.

57. Employees of Capitol Hill Police Department, being a federal agency to the District of
Columbia and with the aid of the Mayor of the District of Colombia and Office of the City
Administrators of District of Columbia under their Public Offices and with the aid of United
States Attorney Andrew David Finkelman and or Peter Lallas, under the office of United States
Attorney being unmindful of the high duties of their public offices under oath of office and the
requirements of the Constitution, have knowingly and willfully advocated, abetted, advised, or
been taught the duty, necessity, desirability, or propriety of overthrowing or destroying the

government of the United States or the government of any State, Territory, District or Possession

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thereof, or the government of any political subdivision with intent to cause the overthrow or
destruction of any such government, and prints, publishes, edits, issues, circulates, sells,
distributes, or publicly displays any written or printed matter advocating, advising, or teaching
the duty, necessity, desirability, or propriety of overthrowing or destroying any government in the
United States by deceit, force or violence, or attempts to do so is in violation of their
constitutional oaths faithfully to exercise these public offices to the best of their ability to protect,
preserve and defend the Constitution of the United States and have been violating their
constitutional duties to take care that the law is being faithfully executed and have willfully
corrupted and manipulated the judicial process of the United States for their personal gain and
impeding the administrative justice by disregarding secured rights afforded under the
Constitution and the Bill of Rights to the People.

XII. Articles of Violation of the Hobbs Act

All issues are incorporated in paragraphs 1| through 59 as a foundation of the Declarant's
Complaint.

In order to show a violation of the Hobbs Act under this provision, the Supreme Court
recently held that the government needs only show that a public official has obtained a
payment which they are not entitled to knowing that the payment was made in return for
official acts. This theory of extortion under color of official rights has resulted in the
successful prosecution of a wide range of officials including those serving at the federal,
state and local levels. Some courts have held that a Hobbs Act violation does not require
that the public official have de jure power to perform any official acts and be paid for it
for as long as it was reasonable to believe he/she had the power to perform the requested
act.

58. Employees of Capitol Hill Police Department, being a federal agency to the District of
Columbia and with the aid of the Mayor of the District of Columbia and Office of the City
Administrators of District of Columbia under their Public Office and with the aid of United

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States Attorney Andrew David Finkelman and or Peter Lallas, under the office of United States
Attorney being unmindful of the high duties of their public offices under oath of office and the
requirements of the Constitution, have knowingly and willfully sworn a false and perjurious oath
to the Constitution to obtain unjust riches, compensation or a public office position with which
such a position could be used to confiscate property and material wealth from the people of the
District of Columbia and people who travel through the District of Columbia by disregarding
their sworn duty to uphold and defend the Constitution of the United States and under color of
any law, statute, ordinance, regulation, or custom, willfully subjects any person in any State,
Territory, Commonwealth, Possession, or District with the deprivation of any rights, privileges,
or immunities secured or protected by the Constitution or laws of the United States.

59. Employees of Capitol Hill Police Department, being a federal agency to the District of
Columbia and with the aid of the Mayor of the District of Columbia and Office of the City
Administrators of District of Columbia under their Public Office and with the aid of United
States Attorney Andrew David Finkelman and or Peter Lallas, under the office of United States
Attorney, did conspire in a racketeering enterprise to seize property and kidnap by false arrest
and/or resulting in a conviction in violation of the 4th Amendment and 5th Amendment to the
Bill of Rights and to violate with intent and extort financial gain from the victims in violation of
the Taft-Hartley Act a clear violation of the Hobbs Act which attempts to protect against unjust
riches and the taking of property by public officers in violation of their constitutional oath to
faithfully execute the public offices to the best of their ability to preserve and defend the
Constitution of the United States and in violation of their constitutional duties to take care of the
that the law be faithfully executed to the greatest prejudice did cause injustice and to manifest

injury to the people of the United States and the District of Columbia.

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60. Employees of Capitol Hill Police Department, being a federal agency to the District of
Columbia and with the aid of the Mayor of the District of Columbia and Office of the City
Administrators of District of Columbia under their Public Office and with the aid of United
States Attorney Andrew David Finkelman and or Peter Lallas, under the office of United States

Attorney, have engaged in profiling non-residents of the District of Columbia with intent to

extort, confiscate property and to kidnap under a racketeering enterprise and to obtain federal
funding or federal grants from the United States government under the false pretense and
disguised as public officers in violation of the constitutional oath to faithfully execute the public
offices of the United States to the best of their ability and to preserve, protect and defend the
Constitution of United States and with willful intent to violate the constitutional duties with
disregard to take care that laws be faithfully executed, and have obstructed and impeded the
administration of justice with the intent to violate the Hobbs Act and the intent to deprive the
People's secured rights under the Constitution and the Bill of Rights.

XIII. Contracts Under the Bankruptcy of the United States

All issues are incorporated in paragraphs | through 68 as a foundation of the Declarant's
Complaint.

61. The United States Congress created the Federal Reserve Act of 1913 thus creating the use of
Federal Reserve Notes as obligations of the United States.

62. By congressional legislation the United States government, in 1933, declared bankruptcy via
Public Law 1, 48 stat C 1, and under Public Law 10, chapter 48, 48 stat 112.

63. The United States Congress created the Social Security Act of 1935 thereby giving all
persons born in United States a number that can be used as “collateral” and as a means of

accessing the person's credit by the United States government.

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64. The United States Congress created the Alien Registration Act of 1940 requiring all birth
“names” to be registered and to validate such live birth “name” by an ink print of the newborn's
footprint to validate the live birth “name” to be used as “collateral.”

65. All newborn “names” are “registered” by each State currently with the Social Security
number being further used as “collateral” and a “credit line” on behalf of the United States
thereby making the public officials “trustees” over the trust created by the registration of the
birth “name” and for the “trustees” to be able to discharge any debt with the resulting evidence of
the newborn's “name”: RODNEY DALE CLASS (Government Registered Trade Name Ward
Trust ,Estate, Joint Stock Share ) and Rodncey-Dale; Class, and any others, of the people,
similarly situated. (See American Jurisprudence 63C Am.Jur.2d, Public Officers and Employees)
66. United States Attorney Andrew David Finkelman and or Peter Lallas, cannot presume that
RODNEY DALE CLASS (Government Registered Trade Name Ward Trust , Estate , Joint stock
share ) and Rodney-Dale; Class is either “missing” or “presumed dead. When the flesh and

blood man with a soul is Forced to Stand Before “THIS COURT” in order to probate the

trust under the bankruptcy created by United States Congress in 1933 and in order to used the
Social Security number and/or the Birth Certificate number for collateral as a credit line under
the resulting “cestui que trust” and to “procure unjust riches” from that “trust.”

67. Any violation of gains or abuse and misuse of a public office whenever United States
Attorney Andrew David Finkelman and or Peter Lallas, did swear an oath or affirmation to the
Constitution not only as a lawyers but in order obtain public office as United States Attorney is
prohibited. He has knowingly and, with malice, has willfully corrupted and manipulated the
judicial process of the United States for his “personal gain” and to impede the administration of

justice in order to get a false conviction and has abused the RODNEY DALE CLASS

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(Government Registered Trade Name) and Rodney-Dale: Class, and the people, similarly
situated, by violating their constitutional oath to protect and defend the Constitution of the
United States.

68. The Employees being a man or women of flesh and blood of the Capitol Hill Police
Department, being federal agents of the District of Columbia and with the aid of the Mayor of
the District of Colombia and Office of the City Administrators of District of Columbia under
their Public Offices and with the aid of United States Attorney Andrew David Finkelman and or
Peter Lallas, under the office of United States Attorney, have set out to defraud the United States
by charging the name of RODNEY DALE CLASS (Government Registered Trade Name Ward
sTrust Estate Joint stock share) and Rodney-Dale; Class under the Bankruptcy of 1933 and to
obtain “unjust riches” and “personal gain or profit” by charging a “name” that is registered to the
United States as collateral and which has a “credit line” under the “trust” created at birth by the
“name”.

69. By such actions created by Employees being a man or women of flesh and blood of the
Capitol Hill Police Department, being a federal agency to the District of Columbia and with the
aid of the Mayor of the District of Colombia and Office of the City Administrators of District of
Columbia under their Public Office and with the aid of United States Attorney Andrew David
Finkelman and or Peter Lallas, under the office of United States Attorney, these agencies and
their agents have caused a liability and damages to Rodney Dale Class, the “third party of
interest” in this case.

a. Also, these agencies and their employees being a man or women of flesh and blood by
perpetrating the foregoing have advocated the overthrow of their constitutional oath as well as

the overthrow of the government of the United States with willful intent to violate the

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constitutional duties and with disregard to take care that the laws are being faithfully executed
and have obstructed and impeded the administration of “justice” and, with intent, deprived the
People of “secured rights” under the Constitution and the Bill of Rights.

XIV. UNITED STATES DISTRICT COURT PRIVATELY OWNED

All issues are incorporated in paragraphs | through 76 as a foundation of the Declarant’s
Complaint.

70. The court has claimed jurisdiction under 50 USC, § 213 - Jurisdiction of confiscation
proceedings.

“Such prizes and capture shall be condemned in the district court of the United States
having jurisdiction of the amount, or in admiralty in any district in which the same may
be seized, or into which they may be taken and proceedings first instituted.”

71. The UNITED STATES DISTRICT COURT, Court administrators are involved in securities

investments on behalf of the UNITED STATES DISTRICT COURT under the Court Registry

Investment System (C.R.LS.) thereby making this court “an industry for profit” with intent to

get returns on investments.

72. The UNITED STATES DISTRICT COURT is also listed as “‘an industry” on Dun &
Bradstreet and the judges are listed as CEOs of these courts, and

73. The UNITED STATES DISTRICT COURT is listed on the North American Industrial
Classification System (NAICS) as a “private industry.”

74. The property that the UNITED STATES DISTRICT COURT sits on is owned by a “private
firm of attorneys” under the jurisdiction of INTERPOL.

75. Washington, D.C. is, by legislative definition, a Corporation as defined by the creation of the
District of Columbia's organic charter of existence.

a. Title 40, United States Code is the manual for federal employees. state employees.

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political subdivisions and any paid federal or state contractors working on behalf of these entities
and they (workers or contracted workers) fall under Title 40 as this is their company policy
rulebook.

76. The United States Constitution, Article 1, section 10, clause 1 “laws impairing the obligation
of contract(s)” is a violation whenever the UNITED STATES DISTRICT COURT employees
failed to have an oath of office or is in breach under Article 6 of the United States Constitution to
have such oath of office to uphold and defend and protect the rights of the citizens when
operating as a “foreign agent” under International Law or Treaties.

77. The UNITED STATES DISTRICT COURT, being “a privately owned industry,” lacks
jurisdiction to hear any criminal actions under Title 18 USC, section 3231 as this function is
reserved for the “district court of the United States” which requires all employees to come in
compliance with the Constitution and the Bill of Rights to uphold and defend and protect the
Constitution and the rights of the citizens as guaranteed by these two documents.

XV. Trespass Violations

All issues are incorporated in paragraphs | through 85 as a foundation of the Declarant's
Complaint.

78. Rodney-Dale: Class points again to the United States Constitution, Article 1, section 8,
clause 10 “laws impairing the obligation of contract.”

79. It is a fact that when, Congressional legislation created the Judiciary Act of 1789, Congress
only created the offices, for judges, US marshals, and the Attorney General’s and agents under
the condition that a real flesh and blood man or woman with a soul would swear an oath to
uphold and defend and protect the Constitution and the rights of the citizens as part of a

condition of accepting that public office

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80. As regulated by private associations, any real man or woman of flesh and blood with a soul
to practice law or to hold any such position that would defend or prosecute any one of the people
then their own regulations requires them to uphold and defend and protect the rights of the
people under the Constitution and Bill of Rights and not doing so would violate the laws
impairing the “obligation of contract” to hold such position.

81. Any real man or woman of flesh and blood that practices law that fails to uphold and defend
and protect the rights of the people under the Constitution and Bill of Rights is in violation of
Article 1, section 8, clause 10, laws impairing the obligation of contract, and of Title 36 United
States Code, chapter 705, section 70503, disqualification for the advocating of the overthrow of
the United States Constitution and the laws of the United States, as well as Title 18, section 1918
of disloyalty, and Title 18, section 1621 of a perjured oath to support, defend, and protect the
rights of the people of the United States.

82. Whenever those real men and women of flesh and blood accept such a public office which
they are elected to by the people or appointed to a position by elected officials they arc bound by
Article 6 of the United States Constitution.

83. Any real man or woman of flesh and blood holds what is claimed to be or understood to be a
public office under the creation of congressional legislation acts and cannot create or legislate
public policy, ordinances, regulations, rules, procedures, codes that would be in conflict or
contrary to the contractual agreement under Article 6 of the United States Constitution and to do
so would violate Article I, section 10, clause 1 which would be considered a breach of public
trust and confidence of that public office.

84. Those real men or women of flesh and blood in the District of Columbia that hold such

public offices have created and are enforcing “public policy,” ordinances, regulations, rules,

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procedures, and codes and if their actions are in conflict with or contrary to the contractual
agreement under Article 6 of the United States Constitution they are in violation of Article 1,
section 10, clause t and this would be considered a breach of public trust and confidence of that
public office.

85. Those real men or women of flesh and blood in the District of Columbia that hold such
public offices have concealed their violations of Article 1, section 10, clause 1 which would be
considered a breach of public trust and confidence of that public office as there is an action in
this court today verifying and validating such violation by those who work in the District of
Columbia and claim to hold such a public offices.

86. Violations of Article 3, section 3 of the Constitution is confirmed by the prosecution's
behavior and because such acts were perpetrated in the District of Columbia ALL parties
mentioned in sections V-X above, have committed, by their complicity, in this instant matter,
self-incrimination of these violations and, as their testimony is being given before this UNITED
STATES DISTRICT COURT under the control of INTERPOL and under maritime law and under
contract law, these are blatant violations of an attempt at the overthrowing of and treason against
both the Constitution and the United States !

87. The government officials and agents in Washington D.C., which includes the Capitol Hill
Police and the United States Attorney Andrew David Finkelman and or Pcter Lallas, by their
actions against. RODNEY DALE CLASS (Government Registered Trade name Ward .Trust
,Estate , Joint stock share ) and Rodney-Dale; Class in the UNITED STATES DISTRICT
COURT, are in violation of their sworn oath to support, protect, preserve and defend the
Constitution of the United States and to preserve protected rights as guaranteed by the

Constitution and the Bill of Rights and have advocated the overthrow of both the United States

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Constitution under Article 6 during a time of a State of Emergency, declared by the President of
the United States, and against the United States government, itself, which is in violation of these
two documents and of laws already mentioned.

a. Title 50 United States Code, section 212 Confiscation of property to aid employed to
insurrection.

Whenever during any insurrection against the Government of the United States, after the
President shall have declared by proclamation that the laws of the United States are
opposed, and the execution thereof obstructed, by combinations too powerful to be
suppressed by the ordinary course of judicial proceedings, or by the power vested in the
marshals by law, any person, or his agent, attorney, or employee, purchases or acquires,
sells or gives, any property of whatsoever kind or description, with intent to use or
employ the same. or suffers the same to be used or employed in aiding, abetting, or
promoting such insurrection or resistance to the laws, or any person engaged therein; or
being the owner of any such property, knowingly uses or employs, or consents to such
use or employment of the same, all such property shall be lawful subject of prize and
capture wherever found; and it shall be the duty of the President to cause the same to be

seized, confiscated. and condemned

b. 18 USC § 2383 - Rebellion or insurrection

Whoever incites, sets on foot, assists, or engages in any rebellion or insurrection against
the authority of the United States or the laws thereof, or gives aid or comfort thereto,
shall be fined under this title or imprisoned not more than ten years, or both; and shall be
incapable of holding any office under the United States.

c. 18 USC § 2385 - Advocating overthrow of Government

Whoever knowingly or willfully advocates, abets, advises, or teaches the duty, necessity,
desirability, or propriety of overthrowing or destroying the government of the United
States or the government of any State, Territory, District or Possession thereof, or the
government of any political subdivision therein, by force or violence, or by the
assassination of any officer of any such government; or

Whoever, with intent to cause the overthrow or destruction of any such government,

prints, publishes, edits, issues, circulates, sells, distributes, or publicly displays any

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written or printed matter advocating, advising, or teaching the duty, necessity,
desirability, or propriety of overthrowing or destroying any government in the United
States by force or violence, or attempts to do so; or

Whoever organizes or helps or attempts to organize any society, group, or assembly of
persons who teach, advocate, or encourage the overthrow or destruction of any such
government by force or violence; or becomes or is a member of, or affiliates with, any
such society, group, or assembly of persons, knowing the purposes thereof—

Shall be fined under this title or imprisoned not more than twenty years, or both, and shall
be ineligible for employment by the United States or any department or agency thereof,
for the five years next following his conviction.

If two or more persons conspire to commit any offense named in this section, each shall
be fined under this title or imprisoned not more than twenty years, or both, and shall be
ineligible for employment by the United States or any department or agency thereof, for
the five years next following his conviction.

As used in this section, the terms “organizes” and “organize”, with respect to any society,
group, or assembly of persons, include the recruiting of new members, the forming of
new units, and the regrouping or expansion of existing clubs, classes, and other units of

such society, group, or assembly of persons.

CONCLUSION

Rodney-Dale;Class has laid out violation after violation of constitutionally protected
rights under the Constitution and the Bill of Rights from the office of Presidency down to the
local law enforcement officers that work on the Street. These public officials being real men and
women of flesh and blood with a soul are required by law to swear an oath to the Constitution
that they would support, defend and protect the rights of the citizens in immunities and rights
secured to them by the Constitution and the laws of the United States.

To violate the sworn oath or affirmation to the Constitution is a violation of the Hobbs

Act of and by attaining wages and compensation and benefits under false and misleading oaths

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that they would preserve and protect and defend the Constitution. United States Attorney Andrew
David Finkelman and or Peter Lallas, being educated in the law with a Law Degree, is aware
that any ordinances or codes in conflict with constitutionally protected rights of the people under
the Bill of Rights are under the Constitution and to proceed with any prosecution under such
circumstances is a violation of his sworn oath as a lawyer and his sworm oath to hold a public
office that he would “preserve and protect and defend” the Constitution in the courtroom.

United States Attorney Andrew David Finkelman's and or Peter Lallas, action to
prosecute constitutionally protected rights secured by the Constitution and the Bill of Rights is
advocating the overthrow of the United States government and advocating the overthrow of the
Constitution and is in violation of disloyalty and of “striking against” and “levying war” against
the Constitution and a violation of the Hobbs Act of attaining wages and compensation and
benefits under false pretense under a perjurious oath to gain unjust riches and personal profit.

The UNITED STATES DISTRICT COURT for the District of Columbia has no choice
but to dismiss this case with prejudice as all Public Officials involved in the District of Columbia
are culpable and have willfully and knowingly advocated the overthrow of the United States
government and have advocated the overthrow of the Constitution and have knowingly, with
malice, and willfully corrupted and manipulated the judicial process of United States for their
personal gain and to impede the administrative justice in order to get a false conviction and abuse
of the (Government Registered Trade Name) RODNEY DALE CLASS and Rodney-Dale;
Class by violating their constitutional oath to protect and defend the Constitution of the United
States and the Declarant prays that the court will dismiss the charges, by these unconstitutional
actions, against the Declarant. Furthermore, Rodncy-Dale; Class is entitled to full restitution for

any personal gain or profit by the opposing parties in the use of the (Government Registered

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Trade Name) RODNEY DALE CLASS and Rodney-Dale; Class “IF” not used toward the public
debt, and being a man of flesh and blood, the real party of interest, that Rodney-Dale; Class ts to
be “made whole” with the return of all property (fingerprints, and any and ALL other property,
etc.) taken from him by the District of Columbia CAPITOL HILL POLICE DEPT OR any other
Federal Agency agents of the District of Columbia that he has come in contact or any other
Federal Agency agents he has come into contact with inside a State outside of the District of
Columbia, as Rodney-Dale; Class, is the real party of interest, and who is also the unwilling
recipient of an unjust monitoring device and to have such device removed immediately, and just
compensation provided for such injustices and inconveniences and purging of all records.

The UNITED STATES DISTRICT COURT for the District of Columbia has no choice
but to address these issues that those government officials in Washington, D.C. and their agents
being real men and women of flesh and blood with a soul who have advocated the overthrow
of protected rights as guaranteed by the Constitution and the Bill of Rights of RODNEY DALE
CLASS (Government Registered Trade Name) and Rodney-Dale; Class, as one of the people of
the United States, and the District of Columbia and that these actions of these government
officials and their agents in Washington, D.C. be brought before this court and be sanctioned by
law.

The UNITED STATES DISTRICT COURT for the District of Columbia now must
vindicate RODNEY DALE CLASS (Government Register Trade Name), and allow the real party
of interest Rodney-Dale; Class, as a real man of flesh and blood and as a Private Attorney
General and as a 14th Amendment, section 4 Bounty Hunter by Congressional Legislation
mentioned above and in lincs | through 4, to move forward to address this action of insurrection

and rebellion by those government officials in Washington, D.C. and their agents being real men

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and women of flesh and blood who are advocating the overthrow of constitutionally protected

rights, acting in a so-called “official capacity” representing the United States government, before

this court. The mere fact that we are standing before the UNITED STATES DISTRICT COURT

for the District of Columbia is an admission of their advocating the overthrow of constitutionally

protected rights by their actions in a so called “official capacity” against RODNEY DALE

CLASS (Government Registered Trade Name) and Rodney-Dale: Class a real, flesh and blood

man.

All rights reserved, and all rights further reserved to amend any errors that may have occurred in

this document.

fod, pldl LE
Rodney-Dale; Class
Private Attorney General
432 North Lincoln Street
High Shoals N.C. 28077

Bounty Hunter Seal

#
Private Ag

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PROOF OF SERVICE

Now Comes Rodney—Dale; Class, a real man of flesh and blood, by Congressional
Legislation under the Statutes at Large and by United States Codes created by the United States
Congress within the District of Columbia Territory, in the position of Private Attorney General
and Bounty Hunter and sets forth this document to hopefully be read and acted upon by an
honorable, flesh and blood, man or woman to afford the Declarant remedy: TAKE JUDICIAL
NOTICE FOR REQUIREMENT FOR AN ARTICLE ITI HEARING FOR AN FORMAL
COMPLAINT OF ULTRA VIRES MISS BEHAVIOR WITH ATTACHMENTS. This document
was sent to the UNITED STATES DISTRICT COURT OF THE DISTRICT OF COLUMBIA
Clerk of Courts on this 2/74 day of February in the year of our Lord 2014 A.D. Rodney—Dale;
Class, also delivered a copy to the Prosecution’.

ocak

balay Mak Cl
Private Attorney General
432 North Lincoln Street

High Shoals N.C.
itconstitutional@aol.com

Ce

PETER LALLAS (Or designee)

ASSISTANT UNITED STATES ATTORNEY
555 4TH STREET, N.W., ROOM 4110
WASHINGTON, DC 20530

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